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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION


Chyrianne H. Jones,                    :

             Plaintiff,                :

      v.                               :      Case No. 2:08-cv-1047

St. Jude Medical S.C., Inc.,           :      JUDGE GEORGE C. SMITH
et al.,                                       Magistrate Judge Kemp
                                       :
             Defendants.

                              OPINION AND ORDER

          This employment discrimination case is before the Court to
resolve two related motions: plaintiff Chyrianne H. Jones’ motion
to compel discovery, and her motion for an extension of time to
respond to the pending summary judgment motion.              Both motions are
fully briefed.      For the following reasons, the motion to compel
will be granted in part and denied in part, and a date will be
set for responding to the summary judgment motion.
                                I.   Background
      In order to place the current motions into context, it is
helpful to recite briefly the background of the parties’ dispute
and also the defenses raised by defendants (to whom the Court
will refer collectively as “St. Jude”) in their summary judgment
motion.
      The following facts appear not to be disputed.              Ms. Jones
worked for St. Jude, prior to her termination in 2009, as a sales
representative.      She sold pacemakers and internal defibrillators
to doctors and hospitals.         Before 2007, she had worked for St.
Jude in Jacksonville, Florida selling similar devices.                She moved
to Columbus in 2007 for personal reasons.
      Right before Ms. Jones began working in Columbus, St. Jude
had purchased the business of a medical device distributor, Ohio
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Pacesetters, through which it had been distributing its devices.
When it took over the business directly, it assigned its sales
representatives, including Ms. Jones, to various existing
accounts.     Her main account was Riverside Methodist Hospital.
      The parties appear to dispute how well Ms. Jones performed
in that account.       For purposes of the two pending motions, it
suffices to say that after St. Jude shifted some accounts around
in 2008, Ms. Jones was no longer responsible for the Riverside
account.     In 2009, St. Jude claims that it underwent a nationwide
reduction in force.       Ms. Jones was selected for termination and
was offered either a severance package or continued employment
under a performance improvement plan.            She chose the latter
option.    According to St. Jude, her performance never met the
goals set for her, and it also discovered that she had secretly
been tape-recording telephone conversations with customers and
with St. Jude’s employees or managers.            It claims to have
terminated her for those reasons.            She asserts that St. Jude
engaged in a pattern of discrimination and retaliation against
her while she was still employed, and that she was terminated for
the same impermissible reasons (i.e. considerations of sex and
race).
                         II.   The Motion to Compel
      When it was filed, the motion to compel discovery addressed
a fairly broad variety of unproduced documents.              They included a
portion of the employment file of Lewis Antol, another St. Jude
sales representative; a tape recording of a conversation between
Ms. Jones and defendant Michael Moore; St. Jude’s nationwide
ranking of its sales managers; documents relating to two other
St. Jude employees, Jerry Hudson and Kevin Beale; certain
documents prepared by a former St. Jude employee, Lou Major; 2006
sales data for the Riverside Hospital account; and notes made by
St. Jude’s in-house counsel, Robert Dunn, after he received a


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letter from Ms. Jones’ counsel on March 5, 2008.              According to
the motion to compel, many of these documents fell into the
category of “promised but not yet produced,” although in some
cases St. Jude had advised Ms. Jones that the documents did not
exist, were too burdensome to produce, or were protected by the
work product doctrine.
      In determining what issues are still in dispute, the Court
now has the benefit not only of the remainder of the briefs filed
regarding the motion to compel, but the memoranda which the
parties filed in support of and in opposition to Ms. Jones’
motion for an extension of time to respond to defendants’ summary
judgment motion.       From those filings, the Court concludes that
the dispute has been significantly narrowed.
      First, it is undisputed that St. Jude produced additional
documents after the motion to compel was filed.              In her reply
brief, Ms. Jones does not discuss further the documents relating
to Mr. Antol, Mr. Hudson or Mr. Beale.            Consequently, as of the
date that memorandum was filed (January 13, 2011), those matters
appear to have been resolved.
      Second, in defendants’ memorandum in opposition to the
motion for an extension of time, St. Jude represents that it
produced more documents after receiving the reply brief on the
motion to compel.       They included the tape recording and
additional documents from Mr. Major.           Further, St. Jude stated
that the “raw sales data” for Riverside had already been
produced, so that there should be no issue about that
information.      It suggested that the only outstanding issue was
Mr. Dunn’s notes, and, reiterating its position that those notes
are covered by the work product doctrine, argued that no
extension of time was needed because the Court would not be
ordering any more documents to be produced.
      Ms. Jones filed her reply memorandum on that motion on


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January 31, 2011.        In it, she disputes that she has been given
the raw sales data for 2006 that she asked for.              She also asserts
that although she now has the documents prepared by Mr. Major,
she has not been provided with any documents (particularly
emails) showing that Mr. Moore received or had knowledge of these
documents.     Finally, she re-argues her position that Mr. Dunn’s
notes are not work product because his work was all done as part
of a human resources investigation and that he was not
functioning as an attorney when he participated in that
investigation.
                  III.    Sales Data and Major Documents
        The Court will dispose of the issues concerning the 2006
sales data and Mr. Major’s documents first because there do not
appear to be any legal disagreements about them which require
resolution.     Rather, if anything, they involve some level of
factual disagreement about what has been produced.
        It is not entirely clear to the Court that the parties have
engaged in any effort to resolve extrajudicially any issue about
documents showing that Mr. Moore received or otherwise had
knowledge of the business analyses prepared by Mr. Major.                The
focus of Ms. Jones’ briefing up to the point of her reply
memorandum on the motion for an extension was on the documents
themselves.     However, she does make a valid argument about the
relevance of documents which might show that Mr. Moore knew about
them.    The Court assumes that defendants have no objection to
producing any documents which might show whether, and when, Mr.
Moore received these analyses.          Consequently, if such documents
have not been produced, defendants should be able to produce them
within fourteen days.
        The arguments about the sales data do not appear to be
particularly responsive to each other.            St. Jude has now
represented that it has produced all of the relevant data both in


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compilation form and in its native state, and that it has nothing
else to produce.       It specifically points to information contained
in its July 10, 2010 production on this issue, asserting that the
raw data can be found behind the third tab of the spreadsheet,
which is labeled “data.”        In her response to this memorandum, Ms.
Jones does not address this argument directly, or explain why
whatever information appears behind that tab is insufficient;
rather, she simply repeats her argument that the raw data from
which the compilation was made must exist somewhere, and that
defendants have yet to produce an affidavit indicating why it
would be overly burdensome to retrieve it.
      The state of the record makes it difficult for the Court to
resolve this issue.       The Court will, however, credit St. Jude’s
assertion that it has produced all of the underlying data, with
the caveat that this matter may still require some conversation
among counsel to insure that Ms. Jones’ counsel understand
exactly what has been produced and the basis of St. Jude’s
assertion that there is no additional information, in any format,
that is responsive.       If such additional conversations do not
persuade Ms. Jones’ counsel that everything which was requested
has now been produced, and if counsel cannot resolve any further
questions which arise, they shall request a conference with the
Court on this issue.       Otherwise, the Court will assume there is
no longer a dispute about this data and that, on this subject,
Ms. Jones has what she needs to be able to make her responsive
argument to the summary judgment motion.
                          IV.   The Dunn Documents
      The only dispute that involves a legal determination (in
addition to a factual determination) surrounds the documents
(which seem to be limited to notes) prepared by St. Jude’s in-
house counsel, Robert Dunn, as part of St. Jude’s 2008
investigation of Ms. Jones’ claim of discrimination or


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retaliation.      St. Jude acknowledges that Mr. Dunn did an
investigation of those claims, and that Ronald J. Spielberger,
Vice President and General Counsel, wrote a letter to Ms. Jones’
counsel, Judith E. Galeano, on May 16, 2008, stating that St.
Jude had “fully investigated” her complaints and that it found
“no ... violation of State and Federal Anti-discrimination.”                 See
Plaintiff Chyrianne H. Jones’ Reply to Defendants’ Memorandum in
Opposition to Plaintiff’s Motion for an Extension of Time to
Respond to Defendants’ Motion for Summary Judgment, Doc. No. 75,
Exhibit 2.     That letter was written in direct response to a
letter from Ms. Galeano dated May 7, 2008.             However, two months
earlier, Ms. Galeano wrote a letter to two St. Jude human
resources employees, Paul Woodstock and Laurie Valle, concerning
the removal of Ms. Jones from the Riverside Hospital Account.
The letter suggested that this action was both a breach of Ms.
Jones’ employment agreement and was taken for discriminatory
reasons.     Ms. Galeano asked that the letter be forwarded to
counsel and that she be contacted within five days.               See
Defendants St. Jude Medical, S.C., Inc. and Michael Moore’s
Response in Opposition to Plaintiff’s Motion to Compel, Doc. No.
52, Exhibit B.      St. Jude argues that, at least for the time
period between the March 5, 2008 letter and the May 16, 2008
response, Mr. Dunn conducted an investigation of Ms. Jones’
claims which was separate from any human resources investigation
and which was done for the purpose of evaluating St. Jude’s legal
position.     Thus, it argues that any notes of this investigation
need not be produced because they represent protected work
product.
     The work product doctrine is now derived from Fed. R. Civ.
P. 26(b)(3). That rule exempts from discovery documents and
tangible things which would otherwise be discoverable if they
have been "prepared in anticipation of litigation or for trial by


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or for another party or by or for that other party's
representative (including the other party's attorney, consultant,
surety, indemnitor, insurer, or agent)...." The limitations on
discovery of work product can be overcome, however, "upon a
showing that the party seeking discovery has substantial need of
the materials in the preparation of the party's case and that the
party is unable without undue hardship to obtain the substantial
equivalent of materials by other means." Even if the court does
direct that trial preparation materials be disclosed, the court
is required to “protect against disclosure of the mental
impressions, conclusions, opinions, or legal theories of a
party’s attorney or other representative concerning the
litigation."
     In determining whether the work product doctrine applies,
the party seeking discovery has the initial burden of showing
that the documents in question are "otherwise discoverable,"
that is, that they are both relevant to the action and
not subject to any other claim of privilege. Once that
burden has been met, the party opposing discovery must
demonstrate that the documents were "prepared in
anticipation of litigation or for trial...." Nothing else is
necessary in order to support a claim that Rule 26(b)(3) is
applicable. See generally Toledo Edison Co. v. G. A.
Technologies, Inc., 847 F.2d 335 (6th Cir. 1988).
     The legal issue which separates the parties as to whether
Mr. Dunn’s notes are work product is whether these notes were
created “in anticipation of litigation.”            Ms. Jones did not file
a charge of discrimination with the EEOC until June of 2008, and
did not file her complaint in this case until November 6, 2008.
Consequently, one of her arguments is that because litigation
could not reasonably have been anticipated when Mr. Dunn took
these notes, they cannot be work product.             Her other argument is
that, at least for a portion of the time when Mr. Dunn was
conducting his investigation, a human resources employee, Ms.

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Lapore, was also conducting an investigation which did not result
in the production of any work product, and that because she and
Mr. Dunn interviewed some of the subjects of the investigation
together, he cannot claim work product for his notes of these
interviews - and particularly for any investigation which post-
dated May 16, 2008, the date on which Ms. Jones’ counsel was told
that an investigation (presumably Mr. Dunn’s, because Ms. Lapore
did not start her investigation until June 3, 2008) had been
completed.     St. Jude apparently concedes that these two
investigations overlapped to some extent, but argues that because
they were being conducted for different purposes (one for human
resources reasons, and one for legal reasons) the overlap is
irrelevant to the question of whether Mr. Dunn’s notes constitute
work product.
      The first issue raised by Ms. Jones’ memoranda is whether
St. Jude could reasonably have anticipated litigation after
receiving the March 5, 2008 letter from Ms. Galeano.               Ms. Jones
asserts that this letter contained no threat of suit and that it
can be “ignored” for purposes of the work product analysis.                 She
relies on decisions from the Courts of Appeals for the Third and
Eighth Circuits, Holmes v. Pension Plan of Bethlehem Steel Corp.,
213 F.3d 124 (3d Cir. 2000) and Diversified Industries, Inc. v.
Meredith, 572 F.2d 596 (8th Cir. 1977) in support of this
argument.
      Diversified, the earlier decision, involved an investigation
into corporate practices which had been commissioned by the
corporation’s board of directors after it had been discovered, in
the context of some proxy-related litigation, that the
corporation may have created a slush fund to be used for unlawful
purposes.     A law firm was retained to conduct this investigation.
It was not retained to represent the corporation in any
particular litigation, and it prepared both a preliminary report


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outlining how it intended to conduct the investigation, and a
more thorough report after it had completed its work.               The court
held that the earlier memorandum was not protected by either the
work product doctrine or the attorney-client privilege, and that
in order for the work product doctrine to apply, the threat of
litigation had to be more than a “remote prospect of future
litigation” and not simply a suspicion that, because of the
corporations’ conduct, “litigation of some sort in the future”
might occur.      Id. at 604.     Obviously, however, this decision is
of limited assistance in evaluating St. Jude’s claim that its
investigation, which was undertaken after it received a specific
letter from an attorney making specific claims of unlawful
conduct, might constitute work product, because nothing of the
sort occurred in the Diversified case.
      Holmes involved a fact situation more similar to the one
presented here.      There, an individual who sought interest on a
claim for benefits due under an ERISA plan sought those benefits
first from the plan, through administrative channels, before he
filed suit.     The plan’s attorney prepared a memorandum analyzing
the claim for interest, which was then sought during discovery
after the claim ripened into litigation.            A magistrate judge had
concluded that the memorandum was protected work product, but the
Court of Appeals disagreed, holding that the fact that the
memorandum was prepared shortly after the plan’s attorney
received a telephone call from an attorney representing the
claimant was not, by itself, enough to prove that the memorandum
was written specifically because there was a prospect of
litigation.     Rather, there was simply insufficient evidence in
the record to satisfy the plan’s burden of showing that the
threat of litigation, and not some business reason, motivated the
preparation of the memorandum.
      Certainly, a letter from an attorney representing an


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 employee of a corporation suggesting that the corporation has
 discriminated against that employee or breached her contract may
 spur a business-related investigation into such allegations.                 It
 may also, however, lead the recipient to believe that the
 employee intends to litigate such issues to the extent that they
 cannot be resolved through the ordinary course of business
 decision-making.      The question then becomes whether, under the
 test as articulated in this circuit, the March 5, 2008 letter
 created the type of anticipation of litigation necessary to
 justify denying Ms. Jones access to Mr. Dunn’s notes on work
 product grounds.
       The Court of Appeals discussed the parameters of this issue
 in United States v. Roxworthy, 457 F.3d 590 (6th Cir. 2006).                 It
 noted that various tests for when a party has an objectively
 reasonable anticipation of litigation could be found in decisions
 from other courts, and focused particularly on the question of
 when an IRS audit would lead a corporation to believe that it
 might be sued.      The court concluded that, under the facts of that
 case, such a fear of litigation was reasonable under any test,
 because the likelihood that the IRS would challenge the
 transaction disclosed by its tax audit was “concrete” given the
 fact that the transaction was large, the IRS had challenged
 similar transactions in the past, and it was possible to identify
 the specific claims and specific transactions which would be at
 issue in that litigation.        See id. at 600.
       Courts interpreting Roxworthy have recognized that it did
 not definitively adopt a test on this question, but those courts
 have also concluded that Roxworthy reinforces the notion that the
 party claiming work product protection has the burden of showing
 both the existence of a subjective fear of litigation and the
 objective reasonableness of that fear, and the burden of coming
 forward with some admissible evidence that, in fact, the


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 anticipation of litigation was the motivating factor behind the
 preparation of the documents.         See Gruenbaum v. Werner
 Enterprises, Inc., 270 F.R.D. 298 (S.D. Ohio 2010); Goldfaden v.
 Wyeth Laboratories, Inc., 2009 WL 2602437 (E.D. Mich. August 21,
 2009).    The needed evidence may be presented “in any of the
 traditional ways in which proof is produced in pretrial
 proceedings such as affidavits made on personal knowledge,
 depositions, or answers to interrogatories ....”              Goldfaden, 2009
 WL 2602437, *2.
       Here, the Court’s analysis is hampered somewhat by the fact
 that, as far as the Court can tell, St. Jude has not submitted an
 affidavit from Mr. Dunn explaining why he conducted an
 investigation or made the notes in question.             However, the
 absence of such proof is not the basis on which Ms. Jones claims
 that these notes are not work product.           Consequently, the Court
 will, as Ms. Jones has done, focus on the question of whether St.
 Jude could have developed an objectively reasonable belief that
 it might be called upon in the future to litigate the issues
 involved in this case when it received Ms. Galeano’s March 5,
 2008 letter.
       Ms. Galeano’s letter begins by stating that Ms. Jones had
 retained legal counsel to represent her concerning “adverse
 employment actions .....”        It identifies one action in particular
 - the removal of the Riverside Hospital account - as being
 problematic, and it also identifies two separate legal claims
 which might be asserted out of that action, namely breach of
 contract and employment discrimination.            It also states that, in
 Ms. Galeano’s legal opinion based on her review of information
 received from her client, St. Jude’s actions were “unwarranted.”
 It concluded with a request that the matter be handled in the
 future on an attorney-to-attorney level.
       Any investigation of these matters following receipt of this


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 letter would not be, as was the case in Diversified, simply an
 effort by St. Jude to find out about a potentially problematic
 corporate practice which did not involve a specific claim
 presented by a specific potential plaintiff.             Further, this
 strikes the Court as materially different from the situation in
 Holmes, where it was entirely appropriate for the claimant, in
 the ordinary course of business, to present an interest claim to
 his own ERISA plan in an effort to receive payment in the
 ordinary course of business.         Here, the letter in question does
 not involve routine business matters such as whether Ms. Jones
 was entitled to some additional compensation for work performed,
 but involves matters which are customary fodder for employment-
 related litigation.       The request that any response come from St.
 Jude’s attorneys only highlights the fact that Ms. Jones intended
 to communicate the fact that the matter had progressed beyond the
 point where she believed that it could be handled in the routine
 course of business.       Even if that were not her intention, a
 reasonable person could well have concluded that it was.                Thus,
 as was the case in Roxworthy, immediately after receiving the
 letter, St. Jude would have been able to identify with “concrete
 specificity” the claims and transactions which would be involved
 in any future litigation with Ms. Jones.            Although there is
 nothing to suggest that Ms. Jones (unlike the IRS) had a custom
 or practice of litigating such issues, employees who believe that
 they have been victimized by workplace discrimination often do
 litigate, and the magnitude of the grievance here, involving a
 well-compensated employee and a major account, made that prospect
 more likely.     Under all of these circumstances, the Court rejects
 Ms. Jones’ argument that St. Jude could not reasonably have
 anticipated litigation after receiving the March 5, 2008 letter.
       The other issue Ms. Jones raises, which appears to relate
 only to any investigation done by Mr. Dunn after May 16, 2008, is


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 that because the “legal department” investigation of Ms. Jones’
 claims had been completed by that date, any further actions he
 took could not have been performed in anticipation of litigation.
 She cites to deposition testimony which indicates, for example,
 that he sat in on an interview of Fred Suppes, another St. Jude
 employee, who was accused of making a racially-inappropriate
 comment and whose employment with St. Jude was ultimately
 terminated, and argues that he could not have been acting as St.
 Jude’s attorney or preparing for litigation with Ms. Jones.                She
 emphasizes that Mr. Dunn did not tell Mr. Suppes that when he
 appeared along with Ms. Lapore for the interview, he was doing so
 in his capacity as a legal advisor to the company.
       The Court has little difficulty dealing with the
 propositions that an attorney, in order to be acting in
 anticipation of litigation, must disclose that fact to each
 person he or she interviews.         That is simply not an element of
 the work product doctrine.        Further, the mere fact that St. Jude
 sent Ms. Galeano a letter on May 16, 2008 stating that it had
 completed an investigation and found no basis for liability does
 not necessarily mean that it thought, or reasonably should have
 thought, that she would be satisfied with the response and that
 litigation had been avoided.         It is not uncommon that unhappy
 employees are not pacified by letters which completely reject
 their claims and that, after receiving such letters, they choose
 to sue.    Certainly, one might reasonably expect that response.
       What is more troubling, however, is the fact that Mr. Dunn
 apparently did not conduct a completely independent investigation
 after May 16, 2008, but, particularly in the case of Mr. Suppes,
 accompanied a human resources representative while she was doing
 an “administrative investigation” of one of the items mentioned
 in Ms. Galeano’s May 7, 2008 letter involving Mr. Suppes.                Unlike
 the allegations made in the earlier letter, all of which can


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 reasonably be seen as dealing only with Ms. Jones’ specific
 situation and her potential claims, the allegation involving Mr.
 Suppes which Mr. Dunn and Ms. Lapore subsequently investigated
 did not directly involve Ms. Jones (the alleged comment was
 directed toward Mr. Major), and the apparent reason for the
 investigation was not to address any legal claim of Ms. Jones’,
 but to determine whether Mr. Suppes made the comment and whether
 he should be disciplined for it.          There is nothing in the record
 to suggest that St. Jude was anticipating legal action either
 from Mr. Major or Mr. Suppes when this interview was conducted or
 that this threat of litigation was the reason why Mr. Dunn was at
 the interview.      Further, St. Jude has apparently turned over Ms.
 Lapore’s notes of this same interview.
       The parties have not cited any cases dealing with the
 precise question of whether a single interview of a single
 witness, attended by both a non-legal employee and a legal
 advisor, and purportedly conducted for both business reasons and
 in anticipation of litigation, can be parsed to the point where
 the notes of the non-legal employee are legitimately subject to
 discovery, while the notes of the legal advisor are not.                The
 Court’s research has also not uncovered any case law on this
 exact issue.     It is certainly the case that a non-lawyer may be
 called upon by a lawyer to assist in the creation of work
 product, so that the participation of non-lawyers in the work
 product process is not necessarily inconsistent with the
 assertion of a work product claim.           See, e.g., IBJ Whitehall Bank
 & Trust Co. v. Cory & Associates, Inc., 1999 WL 617842, *6 (N.D.
 Ill. August 12, 1999), citing Allendale Mut. Ins. Co. v. Bull
 Data Sys., 152 F.R.D. 132, 136 (N.D. Ill. 1993).              However, that
 precept does not cover this situation because St. Jude concedes
 that Ms. Lapore was at the interview for reasons unrelated to the
 potential for litigation from Ms. Jones, and it has not asserted


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 work product protection for her notes.
       The Court leaves open the possibility that, in the proper
 circumstances, investigations protected by the work product
 doctrine and other types of investigations may proceed
 simultaneously and may even involve joint interviews of the same
 witnesses.     However, especially given the fact that on this
 aspect of work product, like any other, the party asserting
 protection must meet its burden of proof through the production
 of some evidence, the Court finds that such unusual circumstances
 are not present here.       Again, there is no affidavit from Mr. Dunn
 indicating why he participated in the interview of Mr. Suppes, so
 there is little, if any, proof on the subjective prong of the
 work product test.       And, as far as the objective prong is
 concerned, there is no evidence (at least in the record the
 parties cite in their memoranda on this issue) that, after the
 May 16, 2008 letter was written, St. Jude received some new
 communication focusing on Mr. Suppes’ comment that made it likely
 that its further investigation of that issue was related directly
 to that comment’s relevance to Ms. Jones’ threat of litigation.
 Therefore, the Court does not view the record as supporting a
 reasonable inference that St. Jude was responding to that threat
 (or, indeed, the threat of any specific litigation) when it
 undertook to determine if one of its employees had made a
 racially offensive comment about someone other than Ms. Jones.
 Thus, if Mr. Dunn has notes of the interview with Mr. Suppes,
 they must be produced.       St. Jude may, however, consistent with
 Rule 26(b)(3)(B), redact from those notes any of Mr. Dunn’s
 “mental impressions, conclusions, or legal theories” concerning
 the current litigation with Ms. Jones, if any such information is
 contained in those notes.        That production should occur within
 fourteen days.
                   V.   Ms. Jones’ Motion for Extension


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       The disposition of these various discovery issues makes it
 relatively easy for the Court to resolve Ms. Jones’ motion for an
 extension of time to respond to the pending summary judgment
 motion.    She is not going to receive much, if any, information as
 a result of this order which she does not already have.               Further,
 she has, as a consequence of the motions practice over discovery,
 already obtained a very substantial extension of time to
 formulate her response.        The Court believes that, within twenty-
 one days of the date she receives any additional information
 about either the 2006 raw sales data or Mr. Dunn’s notes, she
 should be able to file her response.           Given that this additional
 discovery should be completed within fourteen days of the date of
 this order, the Court will fix the response date as a date
 thirty-five days from the issuance of this order.              That date will
 likely not be extended due to any further disagreements about
 discovery, but any problems with the implementation of this order
 shall be brought to the Court’s attention as promptly as
 possible.
                         VI.   Disposition and Order
       Based on the above discussion, Plaintiff Chyrianne H. Jones’
 Second Motion to Compel Discovery (#49) is granted in part and
 denied in part.      Within fourteen days of the date of this order,
 St. Jude shall produce any documents relating to whether, and
 when, Mr. Moore learned of the business analyses done by Mr.
 Major.    Further, within that same time frame, counsel shall
 confer with each other and resolve, if possible, any issues about
 St. Jude’s production of sales data for the Riverside Methodist
 Hospital account in 2006, and St. Jude shall produce Mr. Dunn’s
 notes of his interview of Fred Suppes.           The motion is denied in
 all other respects.       Plaintiff Chyrianne H. Jones’ Motion for
 Extension of Time to Respond to Defendants’ Motion for Summary
 Judgment (#67) is granted.        That response shall be filed no later


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 than thirty-five days from the date of this order.
                   VII.    Procedure for Reconsideration
       Any party may, within fourteen days after this Order is
 filed, file and serve on the opposing party a motion for
 reconsideration by a District Judge.           28 U.S.C. §636(b)(1)(A),
 Rule 72(a), Fed. R. Civ. P.; Eastern Division Order No. 91-3, pt.
 I., F., 5.     The motion must specifically designate the order or
 part in question and the basis for any objection.              Responses to
 objections are due fourteen days after objections are filed and
 replies by the objecting party are due seven days thereafter.
 The District Judge, upon consideration of the motion, shall set
 aside any part of this Order found to be clearly erroneous or
 contrary to law.
       This order is in full force and effect, notwithstanding the
 filing of any objections, unless stayed by the Magistrate Judge
 or District Judge.       S.D. Ohio L.R. 72.4.




                                      /s/ Terence P. Kemp
                                      United States Magistrate Judge




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